Case 8:16-cv-02386-SDM-TBM Document 10 Filed 11/22/16 Page 1 of 2 PageID 40



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


JENNIFER L. WILSON-GRIFFITH,

                                                      CASE NO.: 8:16-cv-02386-SDM-TBM
       Plaintiff,

v.

COMENITY BANK, d/b/a DRESS BARN
CREDIT CARD,

      Defendant.
_______________________________/


                           NOTICE OF PENDING SETTLEMENT

       Plaintiff, by and through undersigned counsel, hereby files this Notice of Pending

Settlement. By submission of this Notice, submitting counsel represents that this matter has settled

in principle subject to final documentation.

Dated: November 22, 2016                       Respectfully Submitted,

                                               CENTRONE & SHRADER, PLLC
                                               612 W. Bay Street
                                               Tampa, Florida 33606
                                               Phone: (813) 360-1529
                                               Fax: (813) 336-0832

                                               /s/ Brian L. Shrader

                                               BRIAN L. SHRADER, ESQ.
                                               Florida Bar No. 57251
                                               e-mail: bshrader@centroneshrader.com
                                               Attorney for Plaintiff
Case 8:16-cv-02386-SDM-TBM Document 10 Filed 11/22/16 Page 2 of 2 PageID 41



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on November 22, 2016, I presented a true and correct copy of

the foregoing to the Clerk of the United States District Court for the Middle District of Florida for

filing and uploading to the CM/ECF system.


                                              _/s/ Brian L. Shrader__________
                                              Attorney
